Case 2:18-cv-06296-JKS-CLW          Document 304         Filed 03/20/25         Page 1 of 2 PageID:
                                          3450
                                                                                           Michael Cukor

                                                                                      McGeary Cukor LLC
                                                                                       150 Morristown Rd.
                                                                                                 Suite 205
                                                                          Bernardsville, New Jersey 07926
                                                              Direct: (973) 339-7367 Fax: (973) 200-4845
                                                                              mcukor@mcgearycukor.com

                                                March 20, 2025

   Hon. Cathy L. Waldor
   Martin Luther King Jr. Courthouse
   50 Walnut Street
   Room 4040, Courtroom 4C
   Newark, New Jersey 07101

   RE:            Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                  Case No.: 2:18-cv-06296-ES-CLW

   Dear Judge Waldor:

   Together with Evelyn Donegan, we represent Plaintiff Vision Industries Group, Inc.
   (“Vision”) in the above captioned matter and write to ask for relief from Your Honor’s
   March 19, 2025 Order requiring the parties to meet in person to “generate a joint
   statement of the case as ordered by the District Judge”. DE 300. Vision’s counsel and
   principal are unavailable and Mr. Miller is acting unreasonably.

   On November 8, 2024, Juge Semper Ordered the parties to submit a joint statement of the
   case by March 31, 2024.

   Judge Semper’s Civil Jury Trial Preferences specifically provide for the possibility of not
   complete agreement by the parties and state:

          If the parties disagree as to the contents of any of the joint submissions, such
          disagreements must be memorialized in the submission via track changes or
          highlighting.

   The parties have completed the attached joint statement of the case but Mr. Miller refuses
   to allow Vision to file it unless Vision removes its track changes comments noting its
   disagreement with certain paragraphs. Mr. Miller insists that Vision agree to every fact
   he alleges or he will not consent to filing the document.

   Mr. Miller drafted the entirety of the attached joint statement of the case. Vision
   included a caption and the four track changes comments in the margin. Mr. Miller has no
   additions or revisions he wants to make to the joint statement of the case. Nevertheless,
   he objects to its submission unless Vision consents to ACU’s recitation of the facts.

   Vision noted its disagreement with these facts because, in its view, the disputed facts and
   evidence were not produced during discovery and are not relevant to the case. For
   example, Vision contends that ACU’s references to Vision’s patent portfolio are
Case 2:18-cv-06296-JKS-CLW          Document 304        Filed 03/20/25      Page 2 of 2 PageID:
                                          3451
   McGeary Cukor LLC                                              Honorable Cathy L. Waldor
                                                                            March 20, 2025
                                                                                     Page 2

   irrelevant, and that ACU references certified translations that were not produced before
   the deadline for exchanging such documents.

   Vision requests this relief because ACU is using Your Honor’s Order to force Vision to
   agree to facts that ACU cannot prove at trial.

   The attached joint statement of the case and attached email correspondence show that the
   parties have “generate[d] a joint statement of the case as ordered by the District Judge.”
   DE 300.

   Based on the above, Vision asks for relief from the requirement to bring counsel and
   parties to court on Monday, and requests permission to file the attached Joint Statement
   of the Case.

   In addition to the above, the undersigned is out of state next week and Ms. Donegan and
   Mr. Liang will be in state court for a trial that is anticipated to last through Wednesday.
   Ms. Donegan reports that the case has been called in with a priority to start Monday with
   jury selection and with two interpreters hired for Tuesday and Wednesday. The case had
   been called in for trial previously, but was adjourned by the court for lack of
   interpreters. Ms. Donegan has been assured that her case will be a priority and the
   interpreters have been arranged. This case is for Mr. Liang in a matter where Vision
   Industries is not a party. It is Ms. Donegan’s understanding that no adjournments will
   be considered in that matter.

   If the Court requires the parties and counsel to attend Court in person next week, Vision
   respectfully requests that such attendance begin on Thursday morning.


                                                 Respectfully,



                                                 Michael Cukor
   cc: Counsel of record via ECF
